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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF MASSACHUSETTS

NUANCE COMMUNICATIONS, INC.,

                   Plaintiff and Counterclaim        Case No. 1:19-cv-11438-PBS
                   Defendant,

    v.

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

                  Defendant and Counterclaim
                  Plaintiff.


      PLAINTIFF NUANCE COMMUNICATIONS, INC.’S MOTION TO COMPEL
         DEFENDANT OMILIA NATURAL LANGUAGE SOLUTIONS, LTD.
        TO RESPOND TO NUANCE’S DISCOVERY REQUESTS SUBJECT TO
            OMILIA’S MOTION FOR PROTECTIVE ORDER [D.N. 146]


          Plaintiff and Counterclaim Defendant Nuance Communications, Inc. (“Nuance”) seeks the

Court’s assistance in compelling Defendant Omilia Natural Language Solutions, Ltd. (“Omilia”)

to fully respond to Nuance’s Second Set of Requests for Production of Documents, Nuance’s

Second Set of Interrogatories, and Nuance’s First Set of Requests for Admission (collectively, the

“Nuance Discovery Requests”). The Nuance Discovery Requests subject to this motion to compel

are already before the Court in connection with Omilia’s Motion for Protective Order (D.N. 146).

          The present motion is simply the inverse of Omilia’s Motion for a Protective Order, and

seeks affirmative relief to Nuance in the form of an Order compelling Omilia to respond to those

requests. The reasons such discovery should be compelled are the same reasons as set forth in

Nuance’s Opposition to Omilia’s Motion for a Protective Order (D.N. 160, attached hereto as

Ex. 1).

          On May 22, 2020, Nuance served its Second Set of Requests for Production of Documents.

D.N. 147-3 (Kiernan Decl. Ex. C). Omilia served objections and responses to the Second Set of

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Requests for Production on June 24, 2020. D.N. 147-4 (Kiernan Decl. Ex. D). On June 15, 2020,

Nuance served its Second Set of Interrogatories. D.N. 147 (Kiernan Decl. ¶ 8). Omilia served

objections and responses to the Second Set of Interrogatories on July 24, 2020. (Id. ¶ 9). On June

25, 2020, Nuance served its First Set of Requests for Admission. D.N. 147-5 (Kiernan Decl. Ex.

E). Omilia served objections and responses to the First Set of Requests for Admission on July 27,

2020. D.N. 147-6 (Kiernan Decl. Ex. F). On July 27, 2020, after it had served objections and

responses to all three sets of discovery, Omilia filed its Motion for Protective Order. D.N. 146.

For the reasons set forth in Nuance’s Opposition to Omilia’s Motion for a Protective Order (D.N.

160, attached hereto as Ex. 1), the requested discovery is relevant, proportionate, and otherwise

permissible and appropriate discovery. Nuance respectfully asks this Court to compel Omilia to

fully respond to the following Nuance Discovery Requests:

              Nuance’s Second Set of Requests for Production of Documents (D.N. 147-3) Nos.

               189-194, 198-204, and 207;

              Nuance’s Second Set of Interrogatories Nos. 9 and 11 (D.N. 147, Kiernan Decl. ¶

               8); and

              Nuance’s First Set of Requests for Admission (D.N. 147-5) Nos. 2-13.


Date: August 21, 2020                    Respectfully submitted,


                                         /s/ Christian E. Mammen
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  FEDERAL RULE OF CIVIL PROCEDURE AND LOCAL RULE 7.1 CERTIFICATE

       I hereby certify that in accordance with Federal Rule of Civil Procedure 37(a) and Local

Rule 7.1(a)(2), prior to filing the above Motion, counsel for Plaintiff and counsel for Defendant

met and conferred in good faith regarding Defendant’s responses to Nuance’s discovery requests

on August 20, 2020. Plaintiff’s counsel attempted in good faith to meet and confer further to

obtain the requested discovery without court action, but Defendant was unwilling to do so.



                                         /s/ Christine H. Dupriest
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                               CERTIFICATE OF SERVICE

       I hereby certify that this document and all its supporting materials filed through the ECF

system will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants on August 21, 2020.

                                         /s/ Christian E. Mammen
                                         Christian E. Mammen




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